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EXHIBIT 79
           Case 2:23-cv-01016-JNW
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                                                      01/16/24 Page 2 of 3


From:
To:                                  Chris Schenck;
Subject:           FW: Continued Business with Patent Asset Management (Rothschild)
Date:              Tuesday, March 15, 2022 3:46:46 PM


Recent attempt to reengage from the Patent Asset Management sales guy.

I haven’t looked at any attachment on LinkedIn, just this email.


From:
      --                      @hotmail.com>
Sent: Tuesday, March 15, 2022 9:57 AM
To:                  @valvesoftware.com>
Subject: Fwd: Continued Business with Patent Asset Management (Rothschild)




Begin forwarded message:

       From: Daniel Falcucci <messages-noreply@linkedin.com>
       Date: March 15, 2022 at 8:53:49 AM PDT
       To:              <---         @hotmail.com>
       Subject: Continued Business with Patent Asset Management (Rothschild)

       ﻿



              ·-
             Good Morning
                                -
             My name is Daniel Falcucci, and I’m the Director of Business
             Development at Patent Asset Management. Our company is
             headed by Leigh Rothschild, a prolific and well known inventor, and
             we focus on enforcing the rights of U.S. patent holders. In 2015, our
             company entered into an Agreement with Valve Corporation, titled
             “Global Settlement and License Agreement.”

             We were happy to reach an agreement then, and I'd like to propose
             an opportunity to enter into a new agreement with PAM. Is this
             something you'd be interested in discussing? Our company has
             acquired a number of valuable patent assets in the past few years,
             and I'd be glad to present a list of our current inventory for Valve's
             review.

             Attached, please find an introductory proposal and inventory
             catalog. Please let me know if you or someone at Valve would like
             to setup a time to met and talk more.
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  Best Regards,
  Daniel Falcucci Marquardt


      Yes, interested…
                                    --11-1
                                    No thanks…              Reply


  □----
   View Daniel's LinkedIn profile



                                    Unsubscribe  |   Help


      This email was intended for

                                    -        (Attorney at Valve Corporation). Learn why
                                      we included this.



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